                United States Court of Appeals
                          For the Eighth Circuit
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                              No. 14-1845
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                            David Anthony Stebbins

                      lllllllllllllllllllll Plaintiff - Appellant

                                          v.

                      Rita F. Stebbins; David D. Stebbins

                    lllllllllllllllllllll Defendants - Appellees
                                     ____________

                   Appeal from United States District Court
                for the Western District of Arkansas - Harrison
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                        Submitted: September 24, 2014
                          Filed: September 26, 2014
                                [Unpublished]
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Before WOLLMAN, BYE, and SMITH, Circuit Judges.
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PER CURIAM.




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       David Stebbins appeals following the district court’s1 pre-service dismissal of
his pro se action, in which he alleged that defendants, his parents, improperly listed
him as a dependant on their tax returns.

       In dismissing Stebbins’s complaint, the district court concluded that Stebbins
had a history of frivolous litigation and had abused the privilege of proceeding in
forma pauperis; the court thus imposed restrictions on Stebbins’s future filings.
Specifically, the court limited the number of cases that Stebbins could file in the
Western District of Arkansas to no more than one case every three months, and only
upon payment of a $50 bond, refunded if the complaint was adjudged not frivolous.
The court added that nothing in its order prohibited Stebbins from proceeding with
counsel, from defending himself in a lawsuit brought against him, or from filing a
claim in which he alleged immediate, extraordinary, and irreparable physical harm.
Stebbins challenges the dismissal of the action, and the imposition of filing
restrictions.

        Upon careful de novo review, see Moore v. Sims, 200 F.3d 1170, 1171 (8th
Cir. 2000) (per curiam), we conclude that the district court properly dismissed the
complaint for failure to state a claim. We also conclude that the court did not abuse
its discretion in imposing the filing restrictions, because it is undisputed that Stebbins
has proceeded in forma pauperis on at least sixteen complaints that proved meritless,
and has filed numerous frivolous motions, since May 2010; and he had the
opportunity to, and did, file objections to the magistrate judge’s report recommending
the restrictions. See Day v. Day, 510 U.S. 1, 2 (1993) (per curiam) (court may impose
filing restrictions where individual has filed numerous frivolous pleadings); In re

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       The Honorable P.K. Holmes, III, Chief Judge, United States District Court for
the Western District of Arkansas, adopting the report and recommendations of the
Honorable James R. Marschewski, United States Magistrate Judge for the Western
District of Arkansas.


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Tyler, 839 F.2d 1290, 1293-94 (8th Cir. 1988) (per curiam) (standard of review);
Peck v. Hoff, 660 F.2d 371, 374 (8th Cir. 1981) (in imposing pre-filing review
procedure, appellant’s opportunity to respond to materials and arguments was
sufficient). Further, in these circumstances, we conclude that the restrictions are not
unduly harsh. Cf. Tyler, 839 F.3d at 1292-93 (affirming order that prospectively
limited plaintiff to filing one in forma pauperis complaint per month); Green v.
White, 616 F.2d 1054, 1055 (8th Cir. 1980) (per curiam).

      The judgment is affirmed. See 8th Cir. R. 47B.
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